6 F.3d 780
    In re Steinbronn (John H.)v.City of Philadelphia, Pa., Goode (Wilson), Blakney(Benjamin), Pingree (David), Bradley (Edward), Cipriani(Nicholas), Rosenberg (Edward), Thomas (Gloria), Steward(Joseph), Prior (Philip), Toner (K.), Brightcliff (Jean),Crescitelli (Peter), Campher (Marie),
    NO. 93-1050
    United States Court of Appeals,Third Circuit.
    Aug 05, 1993
    
      Appeal From:  E.D.Pa.,
      Kelly, J.
    
    
      1
      AFFIRMED.
    
    